                Case 3:19-cr-03222-AGS Document 4 Filed 08/22/19 PageID.2 Page 1 of 1
 AO 86A (Rev.01/09) Consent to Proceed Before a Magistrate Judge in a Class A Misdemeanor Case


                                       UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Southern District of California
                   United States of America                                 )
                                  V.                                        )                                    ~




                                                                            )       Case No.         I~'?, fj_"l,')...- l-f
                                                                            )
                             Defendant                                      )
CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE IN A CLASS A MISDEMEANOR CASE
        [Maximum Term of Imprisonment Greater Than Six Months But Not More Than One Year, 18 U.S.C. § 358l(b)(6)]

        A United States Magistrate Judge has explained to me the nature of the charges against me and the maximum penalty
that may be imposed on each charge if I am found guilty. The Magistrate Judge has also informed me of my right to a
lawyer, my right to a jury trial, and my right to be tried, judged, and sentenced before either a United States District Judge
or a United States Magistrate Judge.

        I consent to being tried before a United States Magistrate Judge, and I waive my rights to trial, judgment, and
sentencing by a United States District Judge.




                                                    Waiver of a Right to Trial by Jury

I waive my right to a jury trial.



                                                                                                          Defendant's signature


               The United States consents to the jury-trial waiver:
                                                                                                  Government representative 's signature



                                                                                         Government representative's printed name and title



                                       Waiver of a Right to Have 30 Days to Prepare for Trial

I waive my right to have 30 days to prepare for trial.


                                                                                                          Defendant's signature




           Printed name of defendant's attorney (if any)                                         Signature of defendant's attorney (if any)


                                                                                                                                               RECEIVED IN
Date:                                                         Approved by:                                                                     DOCKETING

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